Case 2:11--cr 00762- PSG Document 2 Filed 08/05/11 Page 1 of 2 Page |D #: 8
UNITED STATES DISTRICT COUR

CENTRAL DISTRICT ()F CALIFORNIA

 

 

 

 

 

 

CASE sUMMARY
fn Wti j q
Case Number b imm civ 1 w g U gas Defendant Number /
U.s.A. v. J`w ¢ th Bree»wc/€ Year OrBirch Y//¢/ //‘7 ?~3
|:I lndictment |:| Information Investigative agency (FBI, DEA, etc.) /-'_ B f

NOTE:` All items are to be completed. Information not applicable or unknown shall be indicated as "N/A".

OFFENSE/VENUE
a. Off`ense charged as a:

l:| Misdemeanor |:] Minor Offense @y

l:l Petty Offense I:| Class B Misdemeanor a
b. Date ofoffense D€C 3°'05” J"Cl@/T:zd `7'

, c. County in which first offense occurred

S"M\/ Wi BA»)€B/G»£/+
d. The crimes charged are alleged to have been committed inc
CHECK ALL THAT APPLY

l:l Los Angeles |:| V tura
l:l Orange E§::lta Barbara
E| Riverside |:l San Luis Obispo

l:|Other
/? 'u$`c §3?/

EI San Bernardino
Citation of offense

 

RELATED CASE
Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial? |:l No es

, IF YES Case Number

 

Pursuant to Section ll of General Order 08-05, criminal cases

may be related if a previously filed indictment or information

and the present case:

4 a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by difference judges.

Related case(s), if any: MUST MATCH NoTICE oF RELATED

CASE LLM¢+-€ol S)va€f ‘/ -;V*~C {¢{O\

mr a /?7 -¢/ z'+ P$G»
//'/-

PREVIOUSLY FILED COMPLAINT § n
A complaint was previously filed on: h let
Case Number
Charging

 

 

 

The complaint: E is still pending

|:| was dismissed on:

 

COMPLEX CASE ;,-; 2 m

M

Are there 8 or more defendant|?thelndictment/Information'?
|:l Yes* v No ‘-:-{

 

' rim :"
Will more than 12 days be required to presentigovernment s

evidence 1n the case- -in-chief?:;
|:l Yes*

  

2a

‘ m
i _'Y C.Yt:}

*AN oRrGlNAL AND 3 CoPIEs (UNLEss ELECTRONICALLY FILED)
oF THE NoTICE oF COMPLEX cAsE MUST BE FILED 2 BUSINESS
DAYS BEFORE THE ARRAIGNMENT IF EITHER YES Box rs
cHECKED. ~

Superseding Indictment/Information
IS THIS A NEW DEFENDANT ? |I`_| Yes El No

This is the superseding charge, i.e. lst, Z“d.
The superseding case was previously filed on:

 

Case Number

 

The superseded case: v
l:l is still pending before Judge/Magistrate Judge

 

[l was previously dismissed on

Are there 8 or more defendants in the superseding case?
l:| Yes* l:l No

Will more than 12 days be required to present government’s

evidence in the case-in-chief‘?
l:l Yes* l:| No

Was a _Notice of CompleX Case filed on the Indictment or

lnformation?
|___| Yes [l No

*AN ORIG]NAL AND 3 COPIES OF THE NOTICE OF COMPLEX CASE
MUST BE FILED 2 BUSINESS DAYS BEFORE THE ARRAIGNMENT IF

EITHER YES BOX IS CHECKED.
1216

Is an interpreter required: |:l Yes'
IF YES, list language and/or dialect:

 

 

cR~vz (10/03)

CASE SUMMARY

Page l of 2

 

Case 2:11-cr-OO762-PSG Document 2 Filed 08/05/11 Page 2 of 2 Page |D #:9

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CASE sUMMAR` Y
OTHER l ‘ lZ/ CUSTODY STATUS
_ [l Male Female Defendant is not in custody:
l:l U.S. Citizen |:| Alien a. Date and time of arrest on complaint
Alias Name(s) _ b. Posted bond at complaint level on:
` in the amount of $
. . 9
This defendant is charged inc m counts c' PSA Sup_e_rvlslon` m Yes m NO
_ m Only county . d. Is a Fugitive |:| Yes |:l No
' ¢ _ e. ls on bail or release from another district:
l:l This defendant is designated as “High Risl<” per
18 USC 3146(3)(2) by the U'S' Attomey' l f. Z/Has not been arrested but will be notified by summons
|:l This defendant is designated as “Special Case” to appear.
per 18 USC 3166(b)(7). g.' Warrant requested. ij Yes |:l No
Is defendant ajuvenile? |:l Yes mo _
IF YES, should matter be sealed? |:| Yes E] No D--_-____----_Yefendant 1_5 m Cu$to‘_i :
The area of substantive law that will be involved in this case a` Place cfmcazcer_atlon' |:] State m Federal
includes b. Name of lnstltution:
' » c. If Federal: U.S. Marshal's Registration Number:
financial institution fraud |_`J public corruption
|:l gOV€rnment fraud |:| tax Off_énSéS d. l:l Solely on this charge. Date and time of arrest:
|:| environmental issues El mail/wire fraud ~
' E| narcotics offenses l:l immigration offenses e_ 'On another conviction: |:| Yes 4 l:l No
l:| violent crimes/firearms ll corporate fraud IF YES |:l State l:l Federal El Writ of Issue
|:l Other: f. Awaiting trial on other charges: |:l Yes |:| No_
IF YES ‘I:| State [:| F ederal AND '
Name ofCourt:
Date transferred to federal custody:
This person/proceeding is transferred from another district
pursuant to F.R.CrP. 20 2l » 40
ME_;M -
Determinations as to excludable time prior to filing indictment/information EXPLAIN: )’! /Ct

 

 

 

 

Date r/a/ zoz/l ' fM//` /§_ ,/EZ;,

Sz'gnature of Assisz‘am‘ U.S. Atz‘orney

'FFWL 6?` 372:')€/\/

Prz'm‘ Name

 

CR-72 (10/08) CASE SUMMARY Page 2 of 2

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